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(By Appointment Only)

December 4, 2014
BY ECF
Honorable Brian M. Cogan
United States District Judge, EDNY

225 Cadman Plaza East
Brooklyn, New York 11201

Re: William Lopez v. The City of New York, et al., 14 Civ. 03743 (BMC)

Honorable Judge Cogan:

[ am writing to the Court to explain that the exhibits were inadvertently left off the
recently filed Amended Summons and Complaint. Attached please find the following exhibits:

Exhibit A — Judge Garaufus’ Memorandum and Order

Exhibit B - Kings County District Attorney’s Office Violations

Exhibit C — New York Police Department Violations

Exhibit D — Judge Garaufus’ March 16, 2013 Memorandum and Order

We apologize for any inconvenience this may have caused the Court.
Respectfully submitted,
/s/

Dennis Kelly, Esq.
Attorney for Plaintiff

cc: Patrick Beath, Esq.
Attorney for Defendant: The City of New York

Linda Donahue, Esq.
Attorney for Defendant: The City of New York

 
